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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
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                             Plaintiff,
11                                                                 CASE NO. CR02-423C
              v.
12                                                                 ORDER
      KEITH E. ANDERSON, et al.,
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                             Defendants.
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15
             This matter comes before the Court on Defendant Richard Marks’ Motion for Copies of
16
     Transcripts and Other Court Records (Dkt. No. 1152) and Defendant Lowell Wayne Anderson’s Motion
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     for Preparation/Delivery of Transcripts (Dkt. No. 1154).
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             Before he was appointed counsel, Defendant Marks requested that the Clerk send him copies of
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     several documents and forward the entire trial transcript to the Court of Appeals for the Ninth Circuit.
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     Because Defendant now is represented by counsel, the Court hereby STRIKES Defendant’s motion as
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     moot.
22
             Defendant Lowell Wayne Anderson requests that the Clerk send him a complete copy of the trial
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     transcript at no cost. Defendant has not filed a request to proceed In Forma Pauperis on appeal. Even if
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     he had, however, IFP status would not exempt him from paying for a copy of the transcript without first
25

26   ORDER – 1
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 1   obtaining permission from the Court. Defendant has not provided the Court with documentation of his

 2   inability to pay for the requested transcript. Accordingly, the Court hereby DENIES Defendant’s motion.

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 4          SO ORDERED this 1st        day of June, 2005.




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 7                                                      UNITED STATES DISTRICT JUDGE

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26   ORDER – 2
